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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 17-04037
         LEO E PINCKNEY

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/13/2017.

         2) The plan was confirmed on 04/10/2017.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 07/24/2017.

         6) Number of months from filing to last payment: 5.

         7) Number of months case was pending: 9.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $21,400.00.

         10) Amount of unsecured claims discharged without payment: $827.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $10,304.20
       Less amount refunded to debtor                          $3,499.47

NET RECEIPTS:                                                                                      $6,804.73


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $3,500.00
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $313.00
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $3,813.00

Attorney fees paid and disclosed by debtor:                  $500.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim        Principal      Int.
Name                                 Class   Scheduled      Asserted         Allowed         Paid         Paid
AT&T MOBILITY II LLC             Unsecured            NA       1,019.98         1,019.98      1,019.98        5.36
CAPITAL ONE BANK USA             Unsecured          40.00           NA               NA            0.00       0.00
DEUTSCHE BANK NATIONAL           Secured       82,377.04     84,071.89            541.95        541.95        0.00
DEUTSCHE BANK NATIONAL           Secured      230,480.83    146,990.65              0.00           0.00       0.00
KENSINGTON RESEARCH AND RECO     Unsecured         787.00           NA               NA            0.00       0.00
SULLIVAN URGENT AID CENTERS LT   Unsecured            NA       1,417.00         1,417.00      1,417.00        7.44
SUNDANCE VACATION INC            Secured           534.00           NA               NA            0.00       0.00
SUNDANCE VACATION INC            Secured        8,000.00            NA               NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                   $541.95            $541.95              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                             $541.95            $541.95              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $2,436.98          $2,436.98             $12.80


Disbursements:

         Expenses of Administration                             $3,813.00
         Disbursements to Creditors                             $2,991.73

TOTAL DISBURSEMENTS :                                                                        $6,804.73


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/08/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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